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04

05                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
06                                     AT SEATTLE

07 UNITED STATES OF AMERICA,              )            CASE NO. CR97-051-JCC
                                          )
08         Plaintiff,                     )
                                          )
09         v.                             )            SUMMARY REPORT OF U.S.
                                          )            MAGISTRATE JUDGE AS TO
10   VERYL E. KNOWLES,                    )            ALLEGED VIOLATIONS
                                          )            OF SUPERVISED RELEASE
11         Defendant.                     )
     ____________________________________ )
12

13          An evidentiary hearing on supervised release revocation in this case was scheduled before

14 me on October 9, 2009. The United States was represented by AUSA Carl Blackstone and the

15 defendant by Robert Leen. The proceedings were digitally recorded.

16          Defendant had been sentenced on or about February 27, 1998 by the Honorable John C.

17 Coughenour on charges of Conspiracy, Mail Fraud and Bank Fraud and sentenced to 136 months

18 custody, 5 years supervised release. (Dkt. 430.) He was re-sentenced on November 12, 1999 to

19 108 months custody, 5 years supervised release. (Dkt. 547.)

20          The conditions of supervised release included the standard conditions plus the

21 requirements that defendant be prohibited from possessing a firearm, submit to search, submit

22 to mandatory drug testing, provide his probation officer with access to financial information, be


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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 prohibited from incurring new lines of credit or credit obligations, and pay restitution in the

02 amount of $186,830.14. The defendant’s supervised release began on August 25, 2009.

03          In an application dated September 21, 2009 (Dkt. 709-10), U.S. Probation Officer

04 Matthew McDaniel alleged the following violations of the conditions of supervised release:

05          1.     Failing to report to the probation office within 72 hours of his release from

06 custody, in violation of a general condition of supervised release.

07          2.     Failing to report to the probation officer as directed, on or about September 18,

08 2009, in violation of standard condition of supervised release number two.

09          Defendant was advised in full as to those charges and as to his constitutional rights.

10          Defendant admitted the alleged violations and waived any evidentiary hearing as to

11 whether they occurred. (Dkt. 714.)

12          I therefore recommend the Court find defendant violated his supervised release as

13 alleged, and that the Court conduct a hearing limited to the issue of disposition. The next

14 hearing will be set before Judge Coughenour.

15          Pending a final determination by the Court, defendant has been detained.

16          DATED this 7th day of October, 2009.



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17

18                                                Mary Alice Theiler
                                                  United States Magistrate Judge
19

20 cc:      District Judge:               Honorable John C. Coughenour
            AUSA:                         Carl Blackstone
            Defendant’s attorney:         Robert Leen
21          Probation officer:            Matthew D. McDaniel
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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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